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                EXHIBIT 15
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                                       Borough Based Jails Progress Report 1
                                               December 21, 2021


      Introduction:
      In 2019, the City of New York formally committed to closing Rikers Island and building a
      smaller, safer, fairer, more humane jail system in the boroughs. The City Council approved a
      plan to build four new jail facilities in Manhattan, Brooklyn, Queens, and the Bronx. 2 The new
      system is planned to be fully operational in 2027. The New York City Council has also passed
      legislation barring the use of Rikers Island as a correctional facility. 3
      When the City Council passed legislation to create the new jail system, companion legislation
      was also passed requiring the Board of Correction to provide an update report every six months.
      According to the legislation, the Board is required to report on the City’s progress of closing the
      City’s jail facilities at Rikers and the transition to the borough-based jails. Due to the COVID-19
      pandemic, this marks the Board’s first progress report.
      This report will provide an update on the City’s efforts to reduce the jail population, the current
      state of the Department of Correction (“DOC” or “the Department”), the closure of jails, and the
      status of plans to build new facilities in the boroughs.




      1
        The Board would like to thank Bill Heinzen, Ana Gonzalez, and the Eva Kastan Grove Fellows from Roosevelt
      House Institute of Public Policy at Hunter College, Mario Altamirano, Rafael Garcia, Chantal Polinsky, Jada
      Shannon, and Luisais Taveras
      2
        Richard Gonzales, “City Council Votes To Close New York's Notorious Rikers Island Jail Complex” National Public
      Radio, October 17, 2019
      https://www.npr.org/2019/10/17/771167909/new-york-to-close-citys-notorious-rikers-island-jail-complex
      3
        Rachel Vick, “NYC Council Votes to Ban Jails from Rikers Island in Step Toward. Renewable Energy Hub.” Queens
      Daily Eagle, February 11, 2021.
      https://queenseagle.com/all/nyc-council-votes-to-ban-jails-from-rikers-island-in-step-toward-renewable-energy-
      site

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Reducing the Jail Population:
A critical step to realizing the goal of closing Rikers Island is reducing the jail population to an
average daily population of 3,300. The City’s original plan set a goal of 3,300 people in custody
by 2026. During the summer of 2021, the jail population was nearly 6,000 after reaching a 40
year low of approximately 3,800 in April 2020. 4 Since that peak in the summer of 2021, the jail
population has dropped to approximately 5,200. 5




The COVID-19 pandemic impacted the criminal justice system as a whole and the jail system
specifically in a number of ways. One positive outcome was to show that the population can be
dramatically reduced when criminal justice system stakeholders come together. The Mayor’s
Office of Criminal Justice (MOCJ), the Office of Court Administration (OCA), the District
Attorneys, the New York State Department of Corrections and Community Supervision
(DOCCS), defender organizations, and supervised release providers all worked to develop early
release programs, identify those at greater risk of illness for pre-trial release, and identify those
held on technical parole violations for release. However, the pandemic also disrupted court


4
  City Jail Population Drops Below 4,000 for First Time Since 1946, Press Release, Office of the Mayor, April 21,
2020. https://www1.nyc.gov/office-of-the-mayor/news/278-20/city-jail-population-drops-below-4-000-first-time-
since-1946
5
  New York City Board of Correction, Weekly COVID-19 Update, November 27, 2021 – December 3, 2021.
https://www1.nyc.gov/assets/boc/downloads/pdf/covid-19/BOC-Weekly-Report-11-27-12-03-21.pdf

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operations, slowing time to trial, and increasing length of stay. The increased length of stay and
other factors have led to the increase in the jail population since that historic low in April 2020.
MOCJ reports that they expect the population will begin to fall again as the courts resume
normal operations. 6 MOCJ has also testified that it is working closely with judges and the
providers of supervised release services to increase the use of supervised release, rather than
holding people on bail. 7
An August report from the Independent Commission on New York City Criminal Justice and
Incarceration Reform (The Commission) and CCI outlines a path to a daily jail population of
2,700 to 3,100. 8 In order to achieve this population reduction, the report recommends a series of
reforms including resuming court operations to address the COVID-19 backlog of cases,
changing pretrial decision making to safely keep people in the community rather than detention,
addressing long-standing case processing delays, expanding sentencing options, reducing the use
of jail for technical parole violations, and developing robust alternatives for those who have a
diagnosed serious mental illness, those who are over the age of 55, and certain gender groups. 9
The Commission and CCI estimate that those reforms can reduce the jail population to 2,700-
3,150. 10
The June 2021 appointment of Vincent Schiraldi as Commissioner of the Department of
Correction signals a renewed commitment to realizing the population reduction goals set by the
plan to close Rikers Island. The Department and the Commissioner have publicly supported a
number of initiatives including the state’s Less is More legislation that will prohibit jailing
people solely on technical parole violations. 11 While the recent increase in the jail population is
concerning, leadership at the Department may help strengthen and expand the reforms in place –
bail reform, an expansion of supervised release, work to reduce time to trial, and a focus on
reducing incarceration solely for technical parole violations.
Current State of the Jails
The Department of Correction is currently operating 9 open facilities. The Department has closed
the George Motchan Detention Center (GMDC), Brooklyn Detention Complex (BKDC), the
Manhattan Detention Complex (MDC). The Eric M. Taylor Center (EMTC) and Otis T. Bantum



6
  Testimony, New York City Board of Correction Public Meeting, October 19, 2021
https://www1.nyc.gov/site/boc/meetings/october-12-2021.page
7
  Id.
8
  Closing Rikers Island A Roadmap for Reducing Jail in New York City, Independent Commission on New York City
Criminal Justice and Incarceration Reform and the Center for Court Innovation
https://www.courtinnovation.org/sites/default/files/media/document/2021/Roadmap_for_Reducing_Jail_NYC_07
192021_0.pdf
9
  Id.
10
   Id.
11
   Erica Byfield and Andrew Siff, “Amid Deepening Rikers Crisis, Hochul Signs ‘Less Is More' Parole Reform Act” NBC
4 New York, September 17, 2021.https://www.nbcnewyork.com/news/local/amid-deepening-rikers-crisis-hochul-
signs-less-is-more-parole-reform-act/3277713/

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Correction Center (OBCC) had also been slated to close in November of 2020 but both have
remained open. 12
During the COVID-19 pandemic, EMTC reopened sporadically to serve as intake and new
admission housing under the Department’s COVID-19 mitigation plans. OBCC has remained
open as part of the Department’s efforts to reduce housing area capacity, and for a period of time
served as the intake facility for the jail system. Moreover, the James A. Thomas Center (JATC)
has now been formally transferred from the Department of Correction to the Department of
Citywide Administrative Services (DCAS), a critical first step in transferring the operational
responsibility of the Island for non-carceral uses. 13
The current state of the jails is one of crisis. While staffing and management are key to these
challenges, the existing jails are not designed to meet the goals that we all share and are in a state
of disrepair. The design of the buildings creates dangerous site lines for staff and does not
provide space for effective programming, care, or positive interaction. Additionally, people are
able to fashion dangerous weapons from the deteriorating buildings and in many housing areas
are able to pop open cell doors and security gates which contributes to the increasing violence in
the jails. 14 The current conditions in the jails illustrate the need for new, state of the art facilities
that are efficient to operate and designed with care as a priority.
Staffing in the Jails
The Department has been experiencing troubling staffing shortages throughout the COVID-19
pandemic, with those shortages peaking during the summer of 2021. 15 Uniform staff are
regularly working triple shifts. This crisis began in the spring of 2020 as the pandemic hit New
York and has continued through the pandemic and into the summer of 2021. The Department has
reported 30-35% of staff unavailable to work with people in custody on any given day, which
includes calling out sick, going AWOL, or being on modified duty. 16
The effect of this crisis is far ranging. A small number of staff are working multiple tours leading
to exhaustion. This puts correction staff at risk and impact their ability to respond to serious
matters in a timely fashion. The staffing shortages have also led to a concerning failure to
provide basic services including access to medical and mental health care, recreation,
programming, and barbershop to people in custody, an increase in violence, and a lack of
sanitation. 17



12
   New York City Department of Correction, webpage. https://www1.nyc.gov/site/doc/about/facilities.page
13
   DOC Transfers First Rikers Facility to DCAS, Press release, New York City Department of Correction, July 27, 2021
https://www1.nyc.gov/site/doc/media/transfers-facility-dcas%20.page
14
   Second Remedial Order Report of the Nunez Independent Monitor, Second Remedial Order Period January 1,
2021 – March 31, 2021. United States District Court, Southern District of New York. 1:11-cv-05845.
15
   Roshan Abraham, “The Real Reason Behind the Crisis at Rikers Island’ Slate.com, September 29, 2021
https://slate.com/news-and-politics/2021/09/rikers-island-is-in-crisis-its-not-caused-by-understaffing.html
16
   Id.
17
   Testimony, New York City Board of Correction Public Meeting, October 19, 2021
https://www1.nyc.gov/site/boc/meetings/october-12-2021.page

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The City committed to hiring a new class of 400 correction officers who will begin the DOC
training academy in 2021. 18 The Department has also instituted a number of measures to reduce
the number of staff out sick, including requiring staff to visit a healthcare provider within 24
hours of calling in sick. 19
Throughout the pandemic, the Board has continued to monitor conditions in the jails. When
COVID-19 hit New York City in March 2020, the Board adapted its oversight model and
prioritized monitoring the Department of Correction’s and Correctional Health Services’
evolving COVID-19 response. In May 2020, the Board began targeted on-site inspections to
strategically supplement the remote oversight work. Board staff conducted tours to monitor
facility compliance with agency plans and general operations and also to monitor compliance
with BOC Minimum Standards amidst the public health crisis. Each visit is carefully planned to
be responsive to the ongoing, exceptional health risks as well as oversight needs. Since the
Spring of 2021, BOC has continued to refine this process and the on-site inspection work to
allow for more robust, strategic tours as issues beyond the COVID-19 pandemic have emerged.
The increased population, noted above, and DOC staffing shortages add to the already difficult
challenges presented by the COVID-19 pandemic and have exacerbated unsafe and unsanitary
conditions for those who live and work in the jails. If the population remains high, persons in
custody and those who protect and work with them are in an impossible position and these
troubling conditions will persevere.
Observations from our tours over the last six months have revealed four key takeaways. While
these patterns and trends are not necessarily new, they have been intensified by the COVID-19
emergency, a steadily rising jail population, and, more specifically, the staffing crisis it
engendered. 20
While all areas of the jails are impacted by these current staffing shortages, Board staff observed
inadequate staffing ratios in restrictive housing units like ESH and Secure. Staff state there
should be four (4) uniform staff assigned in ESH level 1 units. Instead Board staff observed two
ESH units with only one officer on post during two tours in July and August. 21
Board staff spoke with uniform staff and learned that staff are experiencing low morale,
exhaustion from working triple and quadruple tours, and fear for their safety in the current
conditions. According to DOC data from January 1 to September 1, assaults on staff without


18
   Chris Sommerfeldt and Graham Rayman. “Just 64 recruits training to become NYC correction officers, far less
than the 400-plus promised by Mayor de Blasio.” New York Daily News, September 30, 2021
https://www.nydailynews.com/new-york/nyc-crime/ny-correction-officer-recruit-class-rikers-island-20210930-
6mpevy5bfffobabh5p65ogf6pu-story.html
19
   “De Blasio Announces Plans To Address Staffing Crisis, Inmate Deaths on Rikers Island” NBC 4 New York,
September 15, 2021. https://www.nbcnewyork.com/news/local/de-blasio-announces-plans-to-address-staffing-
crisis-inmate-deaths-on-rikers-island/3272634/
20
   Testimony before the New York City Council, Margaret Egan, Board of Correction Executive Director, September
15, 2021.
21
   N.Y.C. DEP’T OF CORRECTION, OTIS BANTUM CORRECTIONAL CENTER, SECURITY MEMORANDUM NO. 016/17,
ESU/K9 ASSIGNED TO ESHU PHASE I UNITS, para. II (Mar. 6, 2017).

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serious injury or use of force have increased 53%: from 726 in 2020 to 1,112 in 2021. There
were five incidents categorized as serious injury to staff in the same period. Additionally, our
analysis of incident reports shows a 530% increase in still-fires when comparing the first 8
months of 2020 with the first eight months of 2021. During that time period in 2020, there were
179 incidents categorized as fires, in 2021, there were 1178. While these fires are not always
life-threatening, they present a safety issue for people in custody and staff and are clearly a sign
of distress contributing to the chaos present in some units. 22
These incidents make the jails less safe for persons in custody as well as staff. They also lead to
massive disruptions to normal processes, including access to services like medical care, because
they divert staff, which is already spread thin. When far too few staff are added to a steadily
increasing jail population now above pre-COVID levels, the inevitable result is violence,
between staff and persons in custody, as well as between persons in custody. 23
Staffing shortages and the increasing jail population are also resulting in delays moving people
out of intake. Every person entering the New York City jail system must first go to intake, where
initial determinations about housing and medical and mental health care are made. Intake spaces
are also used to send people to court and process their return as well as process transfers from
other jails in the system. It is important to note that intake facilities are not designed for extended
stays: for example, they do not have beds. A person staying overnight in intake has a choice
between a stone floor or a stone bench. 24
Because of COVID-19, DOC has made several changes to the physical location of the new
admission process, so that it has shifted among the following facilities this year: EMTC, OBCC,
VCBC and AMKC. Despite the change in location the same concerns persist, people in custody
are spending extended periods of time in intake, with limited or no access to mandated services,
like shower, medical and recreation. Furthermore, some staff assigned are not adequately trained
to work in intake areas. The Board observed similar concerns at RNDC intake in June and
OBCC intake in September. 25
During a tour on June 24, 2021 staff observed the intake bathroom that is used for showers and
decontamination of people in custody, instead being used as a holding space for individuals
involved in uses of force. The area was filthy. The Board has also received several concerns
from people in custody, advocates, and family members about their loved ones spending
extended amounts of time in intake areas or “living-in” Intake. These intake issues have largely
been addressed by moving central intake to EMTC. However, supply and basic service issues
remain.
There is also a lack of access to mandated and other services. In June, DOC began providing
some congregate services such as religious services, barbershop, and in-person visits. Based on
recent observations, review of housing area logbooks, and conversations with incarcerated

22
   Id.
23
   Id.
24
   Id.
25
   Id.

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individuals and staff, these and other mandated services are occurring in a very limited capacity,
or sometimes not at all, due to staffing shortages. 26
Additionally, there is a deterioration of sanitary conditions in the jails. It does not appear that
proper sanitation is being maintained in the jails on a consistent basis. During recent tours Board
staff observed unsanitary conditions in many housing areas, which were dirty with garbage,
ashes, and feces on the floor. Additionally, some housing areas did not have an adequate supply
of personal hygiene items or were unable to provide access to showers due to staffing shortages.
PPE and cleaning supplies were not available in one unit during a recent tour. These conditions
are unsafe both for people who live and work in these units. 27
One heartbreaking result of these overlapping crises has been the sharp increase in self-harm
incidents, some resulting in fatalities. It seems undeniable that there is a direct link between the
COVID-19 pandemic and a growing mental health crisis. Reported incidents of self-harm spiked
dramatically after the appearance of COVID-19 in New York City, and that increase has
persisted. We believe the dramatic increase in self harm incidents is a direct result of the
conditions listed above, and that the surest way to alleviate these conditions is to take immediate
steps to reduce the jail population. 28
These challenges highlight long standing challenges for the Department. Without new facilities
and dramatic organizational culture change, these issues will remain.
Nunez Consent Decree
The Nunez litigation resulted in the creation of a federally appointed monitor to oversee the
City’s jail system and work to address use of force and the treatment of young adults in the
Department’s custody. Once again, the latest monitor’s report under the Nunez Consent Decree
outlines the management and organizational culture challenges in specific detail. Echoing the
previous reports, the Eleventh Monitoring Report notes that “[t]he Monitoring Team remains
very concerned about the overall state of reform within the Department. While certain troubling
use of force tactics have been curtailed (e.g, improper head strikes), the pervasive level of
disorder and chaos in the Facilities is alarming. The conditions that gave rise to the Consent
Judgement have not been materially ameliorated.” 29 The Twelfth Monitoring Reports takes this
sentiment a step further to note, “[i]nstead, conditions have progressively and substantially
worsened.” 30 The Monitor further states, “The Department’s decades of poor practices has
produced a maladaptive culture in which deficiencies are normalized and embedded in every



26
   Id.
27
   Id.
28
   Id.
29
   Eleventh Report of the Nunez Independent Monitor, Eleventh Monitoring Period July 1, 2020 – December 31,
2020. United States District Court, Southern District of New York. 1:11-cv-05845.
https://www1.nyc.gov/assets/doc/downloads/pdf/11th_Monitor_Report.pdf
30
   Twelfth Report of the Nunez Independent Monitor, Twelfth Monitoring Period January 1, 2021 – June 30, 2021.
United States District Court, Southern District of New York. 1:11-cv-05845.
http://tillidgroup.com/wp-content/uploads/2021/12/12th-Monitors-Report-12-06-21-As-Filed.pdf

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facet of the Department’s work. The Department’s multitude of nonfunctional systems, and
ineffective practices and procedures combine to form a deeply entrenched culture.” 31

Additionally, in the Second Remedial Order entered in September of 2021, the Department
agreed to immediately develop an Interim Security Plan to deal with issues including unlocked
and unlockable doors; to re-instruct staff about suicide prevention measures, including the need
to intervene immediately in any actual or apparent attempt at self-harm; to ensure that new
admissions and intra-facility transfers were processed through intake within twenty-four (24)
hours, to retain a consultant to advise re: the safe housing of gang members; to explore with the
State legal means to hire wardens and other senior facility leadership outside the pool of uniform
staff within the Department; and to appoint a Security Operations Manager. 32

The monitor notes that despite staffing shortages, the Department is not understaffed, relative to
the number of people held in custody. Instead, the monitor notes that many of the staffing issues
are the result of mismanagement. In the eleventh report, the monitor recommended an
independent staffing analysis to assess the practices and dynamics leading to improper
deployment of staff. That analysis has begun. 33

The twelfth monitors report outlines the challenges that the Department has faced in recent
months, echoing the concerning conditions and risk of harm that the Board has also highlighted.
The Monitor also notes increasing rates of uses of force, ongoing improper use of alarms,
increasing rates of fights, increasing rates of stabbing and slashing, and persistently high
numbers of assaults on staff. Together these issues exacerbate the challenging environments
inherent in jails. “The jails’ unsafe environments create extraordinary challenge for anyone to
manage successfully and…trigger a vicious cycle of fear, stress, trauma, and violence.” 34

In order to address the deep and longstanding challenges, the monitor recommends that the
Department focus on improving security practices and appointing facility leaders with deep
correctional experience, improving management and deployment of staff, and improving
processes for holding staff accountable. 35

Reforming the organizational culture change of the Department of Correction is equally
important to the success of the borough-based jail plan. Simply moving into new buildings will
not cure the problems that the Nunez monitor highlights and that the Board’s oversight has
revealed. In order to truly meet the goals of a smaller, safer, fairer, more humane jail system for
people in custody, families, and staff, the culture of the institution must change. There are
several crucial pieces to effective organizational culture change; accountability in management

31
   Id.
32
   Second Remedial Order Report of the Nunez Independent Monitor, Second Remedial Order Period January 1,
2021 – March 31, 2021. United States District Court, Southern District of New York. 1:11-cv-05845.
http://tillidgroup.com/wp-content/uploads/2021/06/Remedial-Order-2nd-06-03-21-As-Filed.pdf
33
   Twelfth Report of the Nunez Independent Monitor, Twelfth Monitoring Period January 1, 2021 – June 30, 2021.
United States District Court, Southern District of New York. 1:11-cv-05845.
34
     Id.
35
     Id.

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and performance, re-envisioning policies and procedures, recruiting and hiring for culture
change, using training and education as tools for culture change, and ensuring the wellbeing of,
and support for, staff. 36 In order to achieve all of these, the city and the Department will need to
also make significant investments in people and systems. That culture change will be long and
hard but it imperative for the success of all who live and work in our city’s jails.
Building New Jails
The design of the new facilities will be a critical component of the plan’s overall success.
Grounded in dignity, care, safety, and work to prevent isolation from society and family, and
located in the boroughs, there will be improved services and connections to attorneys, families,
and visitors. The program requires dedicated space for programming, education, healthcare, and
visiting space to more effectively support reentry to communities. New programs will include a
focus on rehabilitation including skills and job training, education, cooking, and workshops, and
provide for the medical and mental health needs of those in custody. Spaces will enable people to
work together, promoting a sense of common purpose and shared responsibility not animosity.
Critically, the design also prioritizes visitors, ensuring accessibility and comfort for the families
and friends visiting their loved ones. 37
These are important design principles and the City has taken significant action to implement this
plan, and yet, more remains to be done. Given the Board’s essential role as the regulatory and
oversight authority over the jails system, the minimum standards must play a critical role in
setting the standards for basic conditions of confinement, medical care, mental health care,
eliminating sexual abuse, and restrictive housing in the borough-based jail system. At the same
time, the plan to close Rikers Island creates a critical opportunity for the Board to assess its
current minimum standards to identify opportunities to update them to ensure that the baseline
conditions of confinement meet the goals of the new jails and current best practices. The Board’s
standards set a floor for the Department and CHS and this plan provides an opportunity to raise
that floor.
Each of the new jail RFPs account for the Board’s minimum standards and include them as an
addendum. However, to date, the Board has not been involved in the development of the RFPs.
The Department has begun providing the Board with regular briefings on the plan, which we
greatly appreciate, but there is no indication that the Board will be involved in the design
process. The Board must be at the table going forward.
Outposted Therapeutic Housing Units
In addition to the borough-based jails, the DeBlasio administration through the NYC Health +
Hospitals / Correctional Health Services (CHS) announced, in late 2019, a plan to establish three

36
   Liz DeWolf, Margaret Egan, David Hafetz, and Michael Jacobson, “Beyond the Island: Changing the Culture of
New York City Jails.” Fordham Urban Law Journal, Vol. 45, Issue No. 2, 2018.
https://ir.lawnet.fordham.edu/ulj/vol45/iss2/3/
37
   Design Principles & Guidelines Manhattan Detention Facility, City of New York, October 5, 2020
https://rikers.cityofnewyork.us/wp-content/uploads/BBJ_MN_F_Design-Principles-Guidelines-
Public_202001005.pdf

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to six new Outposted Therapeutic Housing Units (OTxHUs) within or adjacent to existing Health
+ Hospital acute care facilities. These units would operate in coordination with the effort to build
four new jails by 2027. This plan would decrease the number of beds in the borough-based jails
by 250, instead establishing beds for incarcerated people in Bellevue and Woodhull hospitals.
The goal is to offer improved access to care in a more therapeutic and normalized environment
for those with more complex medical, mental health, and substance use needs. 38

Under the plan, the OTxHUs would be locked, securitized, and isolated clinical units operated by
CHS and the Department of Correction (DOC). The units would house those requiring specialty
care within hospitals. This, according to CHS, would provide a more humane approach to
detaining people in clinical environments while reducing the time and cost of transportation
between hospitals and jails. CHS would place people deemed to benefit from specialty care, but
who do not warrant medical or psychiatric admission, in these facilities. CHS will make
decisions regarding admitting and discharging patients based on their clinical needs, while DOC
will provide custody management and security. CHS believes the model would allow “clinical
rotations” within H+H facilities including the hospital's inpatient, outpatient, and OTxHU
services to promote a “continuity of care and opportunities for cross-discipline exposure and
collaborations.” 39 Ideally this would strengthen the relationship between and among CHS, DOC,
and NYC Health + Hospitals, and the Board will seek to further understand the updated plans
and timeline prior to the next report.

The Board believes the initiative is a crucial part of the Borough Based Jails concept, but we
note that the Board’s minimum standards include requirements for the provision of medical and
mental health care. These facilities must also ensure that people housed in these units will have
access to basic rights afforded by the minimum standards, including recreation, visitation, and
law library. The Board must be at the table throughout the design process to ensure that the
minimum standards are met, and we look forward to these discussions with DOC, CHS and
DDC.
Board of Correction Minimum Standards
The Board of Correction sets minimum standards that govern the conditions of confinement in
the jails, governing both DOC and CHS. The minimum standards regulate basic conditions of
confinement, medical care, mental health care, eliminating sexual abuse, and governing
restrictive housing. These minimum standards will govern the borough-based system as well.
The Board also conducts important oversight of compliance with the minimum standards. This
oversight includes review of the Department’s day-to-day operations to meet the minimum
standards as well as the receipt of complaints from people in custody, their families, attorneys,
and advocates.


38
   De Blasio Administration Announces Outposted Therapeutic Housing Units to Serve Patients in Custody With
Serious Health Conditions, Press Release, Office of the Mayor, November 26, 2019.
https://www.nychealthandhospitals.org/pressrelease/mayor-announces-outposted-therapeutic-housing-units-to-
serve-patients-in-custody-with-serious-health-needs/
39
   Id.

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As we note above, the goals of the plan are to build new facilities that will promote a smaller,
safer, fairer and more humane jail system. To date the Board has not been involved in the
development of the RFPs nor is there any indication that the Board will be involved in the design
process. The Board’s standards set a floor for the Department and CHS. Designing new jail
facilities provides an opportunity to raise that floor. The Board must be at the table through the
design process to ensure the plan to close Rikers Island raises a critical opportunity for the
Board to assess its current minimum standards to identify opportunities to update them to ensure
that the baseline conditions of confinement meet the goals of the new jails and current best
practices. It will be essential for the Board to be directly involved with the design process to
ensure compliance with the essential elements of the minimum standards and identify areas for
the standards to be updated.
Conclusion
The Board of Correction fully supports the City’s plan to close Rikers Island and build new, state
of the art facilities in the boroughs. The current state of the jails illustrates the need for new jails
and the organizational culture change necessary to meet the goals of a smaller, safer, fairer,
more humane jail system.
The Board is encouraged by progress to reduce the jail population from nearly 11,000 in 2017 to
fewer than 6,000 in 2021 and encourages all stakeholders to recommit to further reducing the jail
population. It is imperative that the Board be involved in the design of the new facilities and for
the City to account for the minimum standards across the full plan, including CHS’s plans to
build outpatient units. Finally, the Board recognizes the opportunity that the plan to close Rikers
Island presents to review and update its own regulations to more effectively support the goals of
the new jails and best practice. The Board will continue to monitor the City’s work to make this
plan a reality.




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